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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

  UNITED STATES SECURITIES AND                      )
  EXCHANGE COMMISSION,                              )
                                                    )
         Plaintiff,                                 )
                                                    )
                 v.                                 )
                                                    ) Civil Action No. 1:15-cv-00758-JMS-MJD
  ITT EDUCATIONAL SERVICES, INC.,                   )
  KEVIN M. MODANY, and DANIEL M.                    )
  FITZPATRICK,                                      )
                                                    )
         Defendants.
                                                    )


                                FINAL JUDGMENT AS TO
                           DEFENDANT DANIEL M. FITZPATRICK

         The Securities and Exchange Commission (the “Commission”) having filed a Complaint,

  Amended Complaint, and Second Amended Complaint (“Complaints”), and Defendant Daniel

  M. Fitzpatrick having entered a general appearance; consented to the Court’s jurisdiction over

  him and the subject matter of this action; consented to entry of this Final Judgment without

  admitting or denying the allegations of the Complaints (except as to jurisdiction and except as

  otherwise provided herein in paragraph VI pursuant to 11 U.S.C. §523); waived findings of fact

  and conclusions of law; and waived any right to appeal from this Final Judgment:

                                                   I.

         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

  is permanently restrained and enjoined from, directly or indirectly, controlling any person who

  violates Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 [17 C.F.R. §

  240.10b-5] thereunder, by such person, directly or indirectly, acting with scienter, by use of the

  means or instrumentalities of interstate commerce, or of the mails, or of a facility of a national
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  securities exchange, in connection with the purchase or sale of a security: (a) employing any

  device, scheme or artifice to defraud; (b) making any untrue statement of a material fact or

  omitting to state a material fact necessary in order to make the statements made, in light of the

  circumstances under which they were made, not misleading; or (c) engaging in any act, practice,

  or course of business which operates or would operate as a fraud or deceit upon another person,

  unless Defendant acts in good faith and does not directly or indirectly induce the act or acts

  constituting the violation.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

  Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

  receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

  officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

  participation with Defendant or with anyone described in (a).

                                                   II.

         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

  is permanently restrained and enjoined from, directly or indirectly, controlling any person who

  violates Section 13(a) of the Exchange Act [15 U.S.C. § 78m(a)] and Rules 12b-20, 13a-1, 13a-

  11, and 13a-13 [17 C.F.R. §§ 240.12b-20 and 240.13a-1, 240.13a-11, and 240.13a-13]

  thereunder, by such person filing or causing to be filed with the Commission annual, quarterly,

  or current reports which contain any untrue statement of material fact or omit to state any

  material fact necessary in order to make the statements made, in light of the circumstances under

  which they were made, not misleading or which omit any material fact required to be contained

  therein, unless Defendant acts in good faith and does not directly or indirectly induce the act or

  acts constituting the violation.

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         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

  Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

  receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

  officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

  participation with Defendant or with anyone described in (a).

                                                  III.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, pursuant to Section

  21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)], Defendant is prohibited, for a period of

  five years from the entry of this Final Judgment, from acting as an officer or director of any

  issuer that has a class of securities registered pursuant to Section 12 of the Exchange Act [15

  U.S.C. § 78l] or that is required to file reports pursuant to Section 15(d) of the Exchange Act [15

  U.S.C. § 78o(d)].

                                                  IV.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant Fitzpatrick

  is ordered to pay a civil penalty in the amount of $100,000 pursuant to Section 21(d) of the

  Exchange Act [15 U.S.C. § 78u(d)]. Defendant Fitzpatrick shall pay this amount to the

  Securities and Exchange Commission within 30 days after entry of this Final Judgment.

                                                  V.

         Defendant may transmit payment electronically to the Commission, which will provide

  detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

  from a bank account via Pay.gov through the SEC website at

  http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank

  cashier’s check, or United States postal money order payable to the Securities and Exchange

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  Commission, which shall be delivered or mailed to

         Enterprise Services Center
         Accounts Receivable Branch
         6500 South MacArthur Boulevard
         Oklahoma City, OK 73169

  and shall be accompanied by a letter identifying the case title, civil action number, and name of

  this Court; the defendant in this action; and specifying that payment is made pursuant to this

  Final Judgment.

         Defendant shall simultaneously transmit photocopies of evidence of payment and case

  identifying information to the Commission’s counsel in this action. By making this payment,

  Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part

  of the funds shall be returned to Defendant. The Commission shall send the funds paid pursuant

  to this Final Judgment to the United States Treasury. Defendant shall pay post judgment interest

  on any delinquent amounts pursuant to 28 U.S.C. § 1961.

                                                   VI.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

  exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the

  allegations in the Complaints are true and admitted by Defendant, and further, any debt for civil

  penalty or other amounts due by Defendant under this Final Judgment or any other judgment,

  order, consent order, decree or settlement agreement entered in connection with this proceeding,

  is a debt for the violation by the Defendant of the federal securities laws or any regulation or

  order issued under such laws, as set forth in Section 523(a)(19) of the Bankruptcy Code, 11

  U.S.C. §523(a)(19).




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                                                 VII.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

  jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.

                                                 VIII.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that except as specifically

  set forth herein, nothing in this Final Judgment or the Consent shall be or be deemed to be an

  admission, waiver or release of any claim, right, remedy, cause of action or defense of any type

  or nature whatsoever of Defendant against third parties (collectively, "Claims"), and no third

  party, including any Chapter 7 trustee, creditor, or other person may use or rely on the Consent

  or Final Judgment to effect an estoppel, waiver, defense, or release of any Claims.

                                                  IX.

         There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

  Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.




          Date: 7/6/2018




  Distribution to
  counsel electronically
  registered.
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